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<{p> City of Rochester
Christopher S. Noone

TOW Department of Law Municipal Attorney

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July 26, 2021

Hon. Frank P. Geraci, Jr.

U.S. District Court Judge
Western District of New York
100 State Street

Rochester, NY 14614

 

Re: Santiago v. Jordan
Civil Action No.: 14-CV-06719 (FPG/MJP)

Dear Judge Geraci:

I am in receipt of Plaintiff, pro se, Carols Santiago’s letter to you of July 22, 2021
requesting the assignment of pro bono counsel for the above matter. I am writing to advise

that I do not oppose his request.

Thank you for your courtesies and your continued kind consideration of this matter.

Very truly yours,

istopher S. oon
Municipal Attorney

CSN/mb

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